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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 SAMUEL WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2772

 5   Attorneys for Plaintiff
     United States of America
 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-442-LKK
12                                 Plaintiff,             STIPULATION AND ORDER CONTINUING
                                                          STATUS CONFERENCE DATE AND
13                          v.                            EXCLUDING TIME UNDER THE SPEEDY TRIAL
                                                          ACT
14   BRANDON MCMURRIAN, ET AL.,
                                                          Court: Hon. Lawrence K. Karlton
15                                Defendants.
16

17          It is hereby stipulated and agreed by and between plaintiff United States of America, on the one
18   hand, and defendants Brandon McMurrian, Joel Murdoch, Kevin Ayler, and Allen Lane, on the other
19   hand, through their respective attorneys, that: (1) the presently set March 11, 2014, status conference
20   hearing shall be continued to April 15, 2014, at 9:15 a.m.; and (2) time from the date of the parties'
21   stipulation, March 6, 2014, through, and including, April 15, 2014, shall be excluded from computation
22   of time within which the trial of this matter must be commenced under the Speedy Trial Act, pursuant to
23   18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4. This continuance is requested to allow
24   additional time for both the prosecutor and defense counsel to prepare and is based on the following.
25   The undersigned prosecutor has conducted several telephone conferences lasting many hours with
26   Bureau of Prisons legal counsel regarding the almost 500 pages of potential discovery in this case. BOP
27   counsel explained and clarified the nature of many of the documents given to the prosecutor, and BOP
28   counsel and the prosecutor have determined which documents are discoverable, on the one hand, and

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 1   which documents have no relevance in this prosecution and are not discoverable, on the other hand.
 2   BOP counsel brought to the prosecutor's attention other documents in the possession of BOP which were
 3   provided to the prosecutor for his review near the end of February. The United States would like
 4   another week to review those documents, numberstamp the documents, and produce the discovery in a
 5   single set. The requested continuance is made to allow: (1) the United States time to produce this
 6   additional discovery; and (2) each defense counsel time to review the discovery and discuss the
 7   discovery and its ramifications with each defendant.
 8            Accordingly, the parties stipulate and agree that the Court shall find that: (1) the failure to grant
 9   the requested continuance in this case would deny all counsel reasonable time necessary for effective
10   preparation, taking into account the exercise of due diligence; and (2) the ends of justice served by the
11   granting of such a continuance outweigh the best interests of the public and the defendants in a speedy
12   trial.
13            Dated: March 5, 2014                           /s/ Michael Long
14                                                           ________________________
                                                             MICHAEL LONG
15                                                           Attorney for Defendant
                                                             BRANDON McMURRIAN
16
                                                             (per email authorization)
17

18
                                                             /s/ Donald Dorfman
19                                                           ________________________
                                                             DONALD DORFMAN
20
                                                             Attorney for Defendant
21                                                           JOEL MURDOCH
                                                             (per email authorization)
22

23                                                           /s/ Steve Plesser
24                                                           ________________________
                                                             STEVE PLESSER
25                                                           Attorney for defendant
                                                             Kevin Ayler
26                                                           (per email authorization)
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 1                                                         /s/ Michael Bigelow
                                                           _________________________
 2                                                         MICHAEL BIGELOW
                                                           Attorney for defendant
 3
                                                           Allen Lane
 4                                                         (per telephone authorization)

 5
                                                           BENJAMIN B. WAGNER
 6                                                         United States Attorney
 7
                                                         /s/ Samuel Wong
 8                                                 By: _______________________
                                                         SAMUEL WONG
 9                                                       Assistant U.S. Attorney
10

11                                                     ORDER

12          The Court, having received, read, and considered the stipulation of the parties, and good cause

13   appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the

14   representation of the parties and good cause appearing therefrom, the Court hereby finds that the failure

15   to grant a continuance in this case would deny all counsel reasonable time necessary for effective

16   preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice to

17   be served by granting a continuance outweigh the best interests of the public and the defendants in a

18   speedy trial. It is ordered that time beginning from the parties' stipulation on March 6, 2014, up to and

19   including the April 15, 2014, status conference shall be excluded from computation of time within

20   which the trial of this matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.

21   § 3161(h) (7) (A) and (B) (iv) and Local Code T 4, to allow all counsel reasonable time to prepare. The

22   March 11, 2014, status conference is hereby ordered continued to April 15, 2014, at 9:15 a.m.

23
            Dated: March 7, 2014
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      STIPULATION AND ORDER CONTINUING                     3
      STATUS CONFERENCE
